          Case 23-05593-RLM-7   Doc 7   Filed 01/16/24     EOD 01/16/24 12:22:46         Pg 1 of 2



United States Bankruptcy Court.                              Case 23-05593-RLM-7
Southern District of Indiana
46 E. Ohio St. Room 116.                                              ANSWER
Indianapolis, IN. 46206

 RE: Case 23-05593-RLM-7
 Involuntary Chapter 7 Bankruptcy
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                                                                         BANK~ ~u lNIJArH l: !J 1



Understanding the serious nature of this case, I respectfully ask the court for
a 14 day extension in order to find the proper legal council to help me
address this involuntary chapter 7.

Very Sincerely,




                                                                      Date: 1/16/2024
Rodney Grubbs




Copy sent via certified mail to:
Petitioner's Attorney
Matthew W. Foster
9511 Angola Court. Suite 310
Indianapolis, IN. 46268




                                    From the Desk of Rodney
Rodney@rodneygrubbs.com           p.o. box 357 brookville, in 47012                 www.RodneyGrubbs.com
                                          1-513-703-6338
  Case 23-05593-RLM-7 Doc 7 Filed 01/16/24 EOD 01/16/24 12:22:46 Pg 2 of 2
                  LM-7 Doc 5 Ried 12/21/23 EOO 12/21/23 :55:06 Pg 1 of 2
                              UNITED STATES BAN<RUPTCY COURT                                         e2500E (rev 03/2022)
                                    Southern District d Indiana
                                      46 E Ohio St Rm 116
                                        Indianapolis, IN 46204




                       and required to file a motion or answer to the atta           mvoluntary petition within
             the earvtce of this summons. You must also serve a copy of the mn111nn or answer on the
           you111e a motion, your time to answer is determined by Fed.R.Ban .P. 1011(c).

                        Bankruptcy Clerk's Office:       Petitioner's attorney;

                       Southam District of Indiana       Matthew W. Foster
                       46 E Ohio St Rm 116               9511 Angola Court
                        Indianapolis, IN 46204           Suite 310
                                                         Indianapolis, IN 4626

•,ou faH to respond to this summons, an order for relief will be entered.
                                                     1s1 Eric R, Kleis
                                                     Clerk, U.S. Bankruptcy Court




                                    Rodney Grubbs
                                    316 East 11th Street
                                    Brookville IN 47012



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